        Case 1:14-cr-00068-LGS               Document 342          Filed 06/11/19       Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                            14 Cr. 68 (KBF)

                                   Plaintiff,                        NOTICE OF DEFENDANT ROSS
                                                                     ULBRICHT’S MOTION FOR
                                                                     DISCOVERY IN PROCEEDING
                                                                     PURSUANT TO 28 U.S.C. § 2255
                            -v-

ROSS WILLIAM ULBRICHT,

                                   Defendant.

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        PLEASE TAKE NOTICE that upon the attached Declarations of Paul Grant and of

Andrew Sayler, and upon all prior papers and proceedings herein, the defendant, Ross Ulbricht,

will move before the Court, at the United States Courthouse located at 500 Pearl Street, New

York, at a time and date to be set by the Court, or as soon thereafter as counsel may be heard, for

the following relief: an order allowing Mr. Ulbricht to receive and use, as appropriate in his 28

U.S.C. § 2255 proceeding, the content of three sealed magistrate files, files identified as 13

MAG 2258, 13 MAG 2274, AND 13 MAG 2275, and for any such other and further relief as the

Court deems just and proper.

Executed this 11th day of June, 2019
Parker, Colorado
                                                       /s/ Paul Grant
                                                       Paul Grant
                                                       Law Office of Paul Grant
                                                       19501 E. Mainstreet, Suite 200
                                                       Parker, CO 80138
                                                       303-909-6133


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